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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 17-80242-CR-ROSENBERG/HUNT

  UNITED STATES OF AMERICA

         v.

  ALEJANDRO ANDRADE CEDENO,

         Defendant.
                                          /

              UNITED STATES’ MOTION FOR FINAL ORDER OF FORFEITURE

         Pursuant to 18 U.S.C. § 982(a)(1), and the procedures set forth in 21 U.S.C. § 853 and Rule

  32.2(c)(2) of the Federal Rules of Criminal Procedure, the United States of America (the “United

  States”) hereby moves for the entry of a Final Order of Forfeiture in the above-captioned matter.

  In support of this motion, the United States provides the following factual and legal bases:

         1.      On November 5, 2018, the Court entered a Preliminary Order of Forfeiture, which

  imposed a forfeiture money judgment in the amount of $1 billion in U.S. currency against

  Defendant Alejandro Andrade Cedeno (the “Defendant”) and forfeited, in partial satisfaction

  thereof, the following specific property, among other assets (collectively, the “Forfeited Assets”):


         Real Estate
         (1)    15231 Sunnyland Lane, Wellington, Florida 33414, including all buildings,
                fixtures, appurtenances, improvements, attachments and easements found therein
                or thereon, and which is more fully described as:

                 Lot 19, Block 5, PALM BEACH POINT, according to the map or plat thereof as
                 recorded in Plat Book 33, Page 133, Public Records of Palm Beach County, Florida;
                 Parcel Identification Number: 73-41-44-19-01-005-0190;

         (2)     15680 and 15740 46th Lane S, Wellington, Florida 33414, including all
                 buildings, fixtures, appurtenances, improvements, attachments and easements
                 found therein or thereon, and which are more fully described as:

                 A parcel of land lying in Section 30, township 44 South, Range 41, Palm Beach
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              county, Florida being described as follows: ELY 311.76 FT OF WLY1858.58 FT
              LYG S & ADJ TO PALM BEACH POINT AS IN PB33P133 & N& ADJ TO C-
              27 R/W A/K/A TR 5, Public Records of Palm Beach County, Florida;
              Parcel Identification Number: 73-41-44-30-00-000-7010; and

              A parcel of land lying in Section 30, township 44 South, Range 41, Palm Beach
              county, Florida being described as follows: WLY 311.76 FT OF ELY4101.38 FT
              OF TH PT OF SEC LYG N OF & ADJ TO C-27 CNL R/W & SOF & PARALLEL
              TO LTS 12 & 13, Public Records of Palm Beach County, Florida;
              Parcel Identification Number: 73-41-44-30-00-000-7050;

        (3)   1290 N. Ocean Boulevard, Palm Beach, Florida 33480, including all buildings,
              fixtures, appurtenances, improvements, attachments and easements found therein
              or thereon, and which is more fully described as:

              The North 33.89 feet to Lot 25-A and ALL of Lot 26-A of BELLO LIDO, according
              to the Plat thereof, as recorded in Plat Book 11, at Page 37, of the Public Records
              of Palm Beach County, Florida; and Lot 4 of Re-Plat of BELLO LIDO, according
              to the Plat thereof, as recorded in Plat Book 24, at Page 171, of the Public Records
              of Palm Beach County, Florida;
              Parcel Identification Number: 50-43-43-03-06-000-0251;

        (4)   16912 Crown Bridge Drive, Del Ray Beach, Florida 33446, including all
              buildings, fixtures, appurtenances, improvements, attachments and easements
              found therein or thereon, and which is more fully described as:

              Lot 159, Bridges - Plat Four, according to the map of plat thereof as recorded in
              Plat 115 page 56, public records of Palm Beach County, Florida;
              Parcel Identification Number: 00-42-46-29-10-000-1590;

        (5)   15159 Sunnyland Lane, Wellington, Florida 33414, including all buildings,
              fixtures, appurtenances, improvements, attachments and easements found therein
              or thereon, and which is more fully described as:

              Lots 20 & 21, Block 5, PALM BEACH POINT, according to the map or plat thereof
              as recorded in Plat Book 33, Page 133, Public Records of Palm Beach County,
              Florida;
              Parcel Identification Number: 73-41-44-19-01-005-0200;

        Vehicles
        (6)    2017 Mercedes Benz GLS 550, Vehicle Identification Number (“VIN”)
               4JGDF7DE8HA893079;
        (7)    2017 Mercedes Benz AMG G-63;
        (8)    2017 Cadillac Escalade, VIN 1GYS4KKJ4HR135174;
        (9)    2016 Porsche Cayenne, VIN WP1AC2A26GLA86557;
        (10) 2016 Chevy Tahoe;



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        (11)   2016 Mercedes Benz AMG S-63, VIN WDDXJ7JB3GA012139
        (12)   2015 Bentley Continental Convertible, VIN SCBGJ3ZA2FC044777;
        (13)   2015 Chevrolet Silverado 2500, VIN 1GC4KYC83FF180852;
        (14)   2014 Dodge Ram 3500;
        (15)   2013 Toyota 4 Runner, VIN JTEZU5JR4D5048434;
        (16)   2009 Cimarron Horse Trailer, VIN 5PAHG34249C006294;
        (17)   Lawnmower/tractor;
        (18)   Three (3) golf carts;

        Horses
        (19) Anastasia Du Park;
        (20) Bonjovi;
        (21) Boy IV;
        (22) Clouwni;
        (23) Cortina 186;
        (24) Dipssy;
        (25) Hardrock Z;
        (26) Jenni’s Chance;
        (27) Joly Jumper;
        (28) Leonardo RGS;
        (29) Nokia de Brekka;
        (30) Quilina VD Laarseheide Z;
        (31) Reus de la Nutria;
        (32) Ricore Courcelle;
        (33) Tupac Van de Vrombautshoeve 2;
        (34) U;
        (35) Tinker Bell;

        Watches
        (36) Rolex Daytona Cosmograph (platinum) watch, reference (“Ref”) 116506,
              serial number (“SN”) L900U410;
        (37) Rolex Yacht-Master II (white gold and platinum) watch, Ref 116689, SN
              V773093;
        (38) Rolex Sky-Dweller (yellow gold) watch, Ref 326938, SN 58W365Z2;
        (39) Hublot Big Bang King (rose gold and black dial) watch, Ref 322, SN
              762177;
        (40) Hublot Big Bang King Black Magic (black titanium and ceramic) watch,
              Ref 322, SN 737211;
        (41) Hublot Big Bang Chronography Tourbillon 20th Anniversary of Ferrari
              watch, Limited 4 of 20, Ref 308.QX.1110.HR.SCFII, SN 930027;
        (42) Hublot King Power (black titanium and ceramic) watch, Limited 8 of 35,
              SN 860397;
        (43) Hublot Big Bang UEFA (black titanium and ceramic) watch, Limited 1557
              of 2008, Ref 318, SN 739956;
        (44) Hublot Big Bang Yankee Victor (stainless steel) watch, Limited 29 of 100,
              Ref 301, SN 689869;



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        (45)   Hublot King Power (titanium and zirconium, rubber band) watch, Limited
               244 of 500, SN 823700;
        (46)   Hublot King Power LaVinotinto Chronograph (black titanium and ceramic)
               watch, Limited 11 of 40, SN 977783;
        (47)   Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 1A-001,
               Movement No 5998681, SN A384FBC;
        (48)   Patek Philippe Nautilus Annual Calendar (stainless steel) watch, Ref 5726/
               1A-001, Movement No 5334786, SN A384FAP;
        (49)   Patek Philippe Nautilus manual (rose gold and stainless steel) watch, Ref
               5980 / 1AR-001, Movement No 5928544, SN A3841AP;
        (50)   Audemars Piguet Royal Oak Offshore Chronograph (rose gold and black
               rubber band) watch, Ref 3850, SN G29840;
        (51)   Audemars Piguet Royal Oak Offshore Safari Chronograph (stainless steel
               and brown band) watch, No 5446, Ref 26170, SN G43443;
        (52)   Audemars Piguet Royal Oak Offshore Chronograph Bumble Bee (carbon)
               watch, No 2376, Ref 26176, SN 48097;
        (53)   Audemars Piguet Royal Oak Offshore (stainless steel) watch, No 1836, Ref
               26170, SN G17332;
        (54)   Roger Dubuis Easy Diver Tourbidiver (stainless steel) watch, Movement
               No RD05, SN 13/88;
        (55)   Roger Dubuis Much More (rose gold) watch, SN 23/28, stamped 750;
        (56)   Panerai Luminor Monopulsante GMT Chronograph (titanium and ceramic)
               watch, Limited L005 of 500, No OP6752, Ref PAM00317, SN BB1458977;
        (57)   Panerai Luminor Submersible Divers Professional (stainless steel) watch,
               Limited J459 of 700, No OP6701, SN BB1253185;
        (58)   Panerai Luminor (stainless steel) watch, Limited K198 of 500, No OP6726,
               SN PB0596207;
        (59)   IWC Pilot Spitfire Chronograph Perpetual Calendar (yellow gold) watch,
               No AU750, Ref IW379103, SN 5074132;
        (60)   Jaeger Le Coultre Master Compressor Diving GMT watch, Ref 159.T.05,
               SN 2471271;
        (61)   Jaeger Le Coultre Master Compressor Diving Chronograph (rose gold)
               watch, Ref 160.2.25, SN 2469332;
        (62)   Jaeger Le Coultre Master Grande Tradition Minute Repeater manual
               (titanium) watch, Limited 65 of 100, Ref. 187.T.67.S, SN 2653359;
        (63)   Frank Muller Casablanca (stainless steel) watch, No 1018, Ref 8885 C CC
               DT;
        (64)   Frank Muller Mariner (stainless steel and red dial) watch, No 69, Ref 908
               CC AT Mar;
        (65)   Frank Muller Mariner Chronograph (stainless steel and blue dial) watch, No
               29, Ref 8080 CC AT Mar;
        (66)   Frank Vila Tourbillon Planetaire Skeleton SuperLigero Concept (titanium)
               watch, Limited 3 of 8, Ref FVA N6;
        (67)   Frank Vila Chronograph (titanium) watch, Limited 3 of 48, Ref FVA10;
        (68)   Greubel Forsey GMT Global Double Tourbillon (white gold) watch,
               Limited 28 of 33, Ref GF GMT WG, stamped AU750 02 669;



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         (69)    IWC Schaffhausen Big Pilot Antoine de Saint Exupery Edition (rose gold)
                 watch, Limited 35 of 500, Ref IW500421, SN 3427442;
         (70)    Rolex Daytona Cosmograph (yellow gold and blue dial) watch, Ref 116528,
                 SN 52UM9527;

         Financial Accounts
         (71) All assets on deposit in account number 0209551AA held in the name of,
                or for the benefit of, Alejandro Andrade at BSI Bank in Switzerland;
         (72) All assets on deposit in account number 000000941600959 held in the name
                of Doble A Records USA LLC at JPMorgan Chase Bank N.A.;
         (73) All assets on deposit in account number 898060394243 held in the name of
                Telsey Properties Holding LLC at Bank of America;
         (74) All assets on deposit in account number 898061778088 held in the name of
                Doble A Management LLC at Bank of America;
         (75) All assets on deposit in account number 898061778091 held in the name of
                Doble A Farm, LLC at Bank of America;
         (76) All assets on deposit in account number 898039362866 held in the name of
                Malabar Management LLC at Bank of America;
         (77) All assets on deposit in account number 5340241792 held in the name of
                Malabar Management, LLC at Wells Fargo Bank;
         (78) All assets on deposit in account number 5536404915 held in the name of
                Telsey Properties Holding, LLC at Wells Fargo Bank; and
         (79) All assets on deposit in account number CH47084680000114931 held in
                the name of Telsey Managers International Inc. at EFG Bank in
                Switzerland.

  See Preliminary Order of Forfeiture, ECF No. 30. 1

         2.      Notices of Lis Pendens were recorded on the forfeited real estate.      See Exhibit A

  (Recorded Notices of Lis Pendens); see also, e.g., Notices of Lis Pendens, ECF Nos. 35 to 40.

         3.      Between on or about December 4 and 10, 2018, notices of the Preliminary Order of

  Forfeiture were posted on the forfeited real estate in an open and conspicuous manner by law

  enforcement agents. See Return of Executed Service, ECF No. 56 (1290 N. Ocean Boulevard on

  12/10/2018); Return of Executed Service, ECF No. 58 (15680 & 15740 46th Lane S on 12/4/2018);



  1
    On November 19, 2018, upon unopposed motion of the United States, the Court entered an Order
  for Interlocutory Sale of Certain Assets Subject to Forfeiture, authorizing the interlocutory sale of
  the preliminarily forfeited real estate, vehicles, horses, and watches pending their final forfeiture.
  See Order for Interlocutory Sale, ECF No. 44; Order Clarifying Order for Interlocutory Sale, ECF
  No. 66.


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  Return of Executed Service, ECF No. 59 (15159 Sunnyland Lane on 12/4/2018); Return of

  Executed Service, ECF No. 60 (15231 Sunnyland Lane on 12/4/2018); Return of Executed

  Service, ECF No. 61 (16912 Crown Bridge Drive on 12/4/2018).

          4.      In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules

  of Criminal Procedure, notice of the Preliminary Order of Forfeiture was published on an official

  government website (www.forfeiture.gov) for 30 consecutive days, from December 22, 2018, until

  January 20, 2019.     See Decl. of Publication, ECF No. 67.

          5.      Also in accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal

  Rules of Criminal Procedure, all other persons known to have an alleged interest in the Forfeited

  Assets received written direct notice of the Preliminary Order of Forfeiture or were on actual notice

  of the forfeiture.

          6.      Specifically, between on or about December 4, 2018, and January 30, 2019, direct

  notice letters were sent via Federal Express to the following persons or entities:

                  (1)     Emanuel Andrade Colemenares
                          16912 Crown Bridge Drive
                          Delray Beach, FL 33446

                  (2)     Maria Andrade
                          15159 Sunnyland Lane
                          Wellington, FL 33414

                  (3)     Cayenne Turbo LLC
                          470 S Shore Drive
                          Miami, FL 33141

                  (4)     California Closets
                          4763 PGA Blvd.
                          Palm Beach Gardens, FL 33418

                  (5)     Coventina Builders LLC
                          1834 SW Janette Avenue
                          Port St. Lucie, FL 34953




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              (6)    Crown Bridge Investment LLC
                     George S. Zamora, Esq., Registered Agent
                     2137 NW 2nd Avenue
                     Miami, FL 33127

              (7)    DB Private Wealth Mortgage, LTD
                     60 Wall Street, 32nd Floor
                     New York, NY 10005

              (8)    Doble A Farm LLC
                     Anabel Sanchez, Registered Agent
                     12300 South Shore Blvd., Suite 216
                     Wellington, FL 33414

              (9)    Doble A. Records USA LLC
                     Anabel Sanchez, Registered Agent
                     12300 South Shore Blvd., Suite 216
                     Wellington, FL 33414

              (10)   Alvaro Fernaud
                     Doral, FL

              (11)   Five Construction
                     2950 NW Commerce Park Drive #4
                     Boynton Beach, FL 33435

              (12)   Gerrion Capital LLC
                     Maria Rosario, Registered Agent
                     3373 SW 29th Terrace
                     Miami, FL 33127

              (13)   Gerrion Capital LLC
                     2137 NW 2nd Avenue
                     Miami, FL 33127

              (14)   Gerrion Capital LLC
                     Anabel Sanchez Dominguez
                     1878 Capeside Circle
                     Wellington, FL 33414

              (15)   Malabar Management LLC
                     Anabel Sanchez, Registered Agent
                     12300 South Shore Blvd., Suite 216
                     Wellington, FL 33414




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                 (16)   Palm Beach County Tax Collector
                        301 N Olive Avenue
                        West Palm Beach, FL 33401

                 (17)   Palm Beach County Tax Collector
                        P.O. Box 3715
                        West Palm Beach, FL 33402

                 (18)   Paul Tracy
                        Paul Tracy, Inc.
                        2109 Henley Place
                        Wellington, FL 33414

                 (19)   Telsey Managers International Inc.
                        15231 Sunnyland Lane
                        Wellington, FL 33414

                 (20)   Telsey Properties Holding LLC
                        Anabel Sanchez, Registered Agent
                        12300 South Shore Blvd., Suite 216
                        Wellington, FL 33414-6237

                 (21)   1290 Investments LLC
                        Worldwide Corporate Admin LLC, Registered Agent
                        2330 Ponce De Leon Blvd., Suite 201
                        Coral Gables, FL 33134

                 (22)   YICSMI66 LLC
                        Anabel Sanchez, Registered Agent
                        12300 South Shore Blvd., Suite 216
                        Wellington, FL 33414

  See Exhibit B (FedEx Delivery Status and Correspondence).

         7.      In addition, on November 26, 2018, a copy of the Preliminary Order of Forfeiture

  was sent, via e-mail, to counsel for the current or last known manager of both Telsey Properties

  Holding, LLC and Doble A Farm, LLC, nominal title holders for certain forfeited real estate.

         8.      The nominal title owners of the forfeited real estate also executed deeds transferring

  title to such property to the United States. See Exhibit C (Deeds).




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         9.      Pursuant to 21 U.S.C. § 853(n)(2), “[a]ny person, other than the defendant,

  asserting a legal interest in property which has been ordered forfeited to the United States pursuant

  to this section may, within thirty days of the final publication of notice or his receipt of notice

  under paragraph (1), whichever is earlier, petition the court for a hearing to adjudicate the validity

  of his alleged interest in the property.”

         10.     The time for filing a petition claiming an interest in the Forfeited Assets has

  expired.

         11.     Between April and July 2019, the United States entered into Stipulation and

  Settlement Agreements with Paul Tracy, Inc., Palm Beach Equine Clinic LLC, Hidden Brook

  Farm, and B&B Farm Inc. to resolve, pre-filing of third-party petitions, their respective interests

  in certain preliminarily forfeited horses as a result of services provided. See Agreement with Paul

  Tracy, ECF No. 71-2; Agreement with Palm Beach Equine Clinic, ECF No. 71-3; Agreement with

  B&B Farm Inc., ECF No. 74-2; Agreement with Hidden Brook Farm, ECF No. 75-1; Amended

  Agreement with B&B Farm Inc., ECF No. 76-1. In these settlements, which the Court approved,

  the United States agreed to release the following amounts in full satisfaction of third-party claims

  to the forfeited horses:

                 (1)     $10,265.00 in U.S. currency to Paul Tracy Inc.;

                 (2)     $84,982.19 in U.S. currency to Palm Beach Equine Clinic LLC;

                 (3)     $10,366.35 in U.S. currency to Hidden Brook Farm; and

                 (4)     $16,828.79 in U.S. currency to B&B Farm Inc.

  See id.; Order Approving Agreements with Paul Tracy and Palm Beach Equine Clinic, ECF No.

  72; Order Approving Am. Agreement with B&B Farm, ECF No. 77; Order Approving Agreement

  with Hidden Brook Farm, ECF No. 78.




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          12.     With respect to the forfeited real estate, the United States acknowledges and agrees

   to pay the relevant county tax collector all outstanding ad valorem taxes, assessments, and liens,

   if any, together with any interest accrued thereon. Such payments will be made at closing with

   proceeds from the sale of the forfeited real estate.

          13.     Pursuant to 21 U.S.C. § 853(n)(7), once all third-party petitions have been disposed

   of and/or if no timely petitions have been filed, “the United States shall have clear title to property

   that is the subject of the order of forfeiture and may warrant good title to any subsequent purchaser

   or transferee.” Accord Fed. R. Crim. P. 32.2(c)(2).

          14.     Therefore, the United States is entitled to have clear title to the Forfeited Assets.

          WHEREFORE, pursuant to 18 U.S.C. § 982(a)(1), 21 U.S.C. § 853, and Rule 32.2(c)(2)

   of the Federal Rules of Criminal Procedure, the United States requests that the Court enter the

   proposed Final Order of Forfeiture and for such other relief that it deems just and proper.

                                                  Respectfully submitted,

                                                  ARIANA FAJARDO ORSHAN
                                                  UNITED STATES ATTORNEY

                                          By:     s/ Nalina Sombuntham
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